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                                           U.S. Department of Justice
[Type text]
                                                     United States Attorney
                                                     Southern District of New York
                                                     The Silvio J. Mollo Building
                                                     One Saint Andrew’s Plaza
                                                     New York, New York 10007


                                                     February 26, 2020

BY ECF

The Honorable Taylor A. Swain
United States District Judge
Southern District of New York
500 Pearl Street
New York, New York 10007

       Re:     United States v. Michael Ackerman, 20 Cr. 93 (TAS)

Dear Judge Swain:

        The Government respectfully submits this letter to update the Court with respect to the
status of this matter and to seek an adjournment of the arraignment and initial conference currently
scheduled for 10 a.m. on February 27, 2020. As set forth below, the Government also seeks
exclusion of time from the speedy trial clock in an abundance of caution.

         The defendant was arrested and presented on the above-referenced indictment in the
Northern District of Ohio, where he was temporarily represented by retained counsel. The
Government anticipates that Jonathan Marvinny of the Federal Defenders will be appointed to
represent the defendant in this matter. However, that appointment has been delayed because of
scheduling and logistical difficulties arising from the fact that the defendant is currently
hospitalized in Ohio. Due to the defendant’s current medical condition, the Government
understands that the defendant is also physically unable to appear in person for the initial
conference currently scheduled on Thursday. Accordingly, the Government, with the consent of
Mr. Marvinny, seeks an adjournment of the conference by approximately thirty days to allow for
Mr. Marvinny to be formally appointed as counsel and to give the parties additional time to discuss
whether the defendant is physically capable of appearing and standing trial in this matter. The
Government anticipates that these discussions will include considering whether appropriate
arrangements can be made to allow the defendant to appear in this District telephonically or
through other remote means, or whether his medical condition will allow him to appear in person
at a later date.

        With respect to the speedy trial clock, the Government believes that the speedy trial clock
has not begun to run. Under 18 U.S.C. § 3161(c)(1), a trial against a defendant charged by
indictment must commence within seventy days of “the filing date (and making public) of the . . .
indictment, or from the date the defendant has appeared before a judicial officer of the court in
which such charge is pending, whichever later occurs.” 18 U.S.C. § 3161(c)(1) (emphasis added).
Here, the indictment against the defendant was unsealed on February 11, 2020, but the defendant
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has yet to appear before a judicial officer in this District, where the indictment is pending. As
such, the speedy trial clock will not begin to run until the defendant makes his first appearance
before this Court.

         In an abundance of caution, however, the Government notes and Mr. Marvinny agrees that
time is automatically excluded from the speedy trial clock to the extent that the defendant is not
currently physically capable of standing trial. 18 U.S.C. § 3161(h)(4). In the alternative, the
Government moves with the consent of Mr. Marvinny to exclude time from the speedy trial clock
under 18 U.S.C. § 3161(h)(7)(A) because the ends of justice served by such exclusion outweigh
the best interest of the public and the defendant in a speedy trial. Specifically, the exclusion would
allow time for the defendant to be appointed counsel, and for counsel to confer with the
Government and the Court regarding the defendant’s current and future capacity to appear to stand
trial in this matter.

                                                      Respectfully submitted,

                                                      GEOFFREY S. BERMAN
                                                      United States Attorney for the
                                                      Southern District of New York


                                                  By: ___/s/______________________
                                                      Jessica Greenwood
                                                      Assistant United States Attorney
                                                      (212) 637-1090


cc: All Counsel (by ECF)
